Case: 1:24-cv-07639 Document #: 2 Filed: 08/23/24 Page 1 of 2 PageID #:70
       Case: 1:24-cv-07639 Document #: 2 Filed: 08/23/24 Page 2 of 2 PageID #:71

                                Civil Cover Sheet (continued)

                            George Bavolak v. Atkore, Inc. et al.


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Section 1., Defendants
 Complete list of Defendants –
 Atkore, Inc., Cantex Inc., Diamond Plastics Corporation, IPEX USA LLC, JM Eagle, Inc.,
 National Pipe & Plastics, Inc., OPIS, Otter Tail Corporation, Prime Conduit, Inc., Southern Pipe,
 Inc., and Westlake Corporation
